     Case
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                      IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION

UNITED STATES OF AMERICA                  )
                                          )
              v.                          )       CR 117-034
                                          )
REALITY LEIGH WINNER                      )

                               DETENTION ORDER

       For the reasons stated at the detention hearing on June 8, 2017, the Court finds by

preponderance of the evidence that no condition or combination of conditions will

reasonably assure the appearance of Defendant as required; and by clear and convincing

evidence that no condition or combination of conditions will reasonably assure the safety of

other persons and the community.

       Defendant is committed to the custody of the Attorney General or his designated

representative for confinement in a corrections facility separate, to the extent practicable,

from persons awaiting or serving sentences or being held in custody pending appeal.

Defendant shall be afforded a reasonable opportunity for private consultation with defense

counsel. On order of a court of the United States or on request of any attorney for the

Government, the person in charge of the corrections facility shall deliver Defendant to the

United States Marshal for the purpose of an appearance in connection with a court

proceeding.

       SO ORDERED this 9th day of June, 2017, at Augusta, Georgia.
